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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


                                                    :
STEPHEN BUSHANSKY,
                                                    :
                                                        Case No. 19-cv-10969-GBD
                       Plaintiff,                   :
                                                    :   NOTICE OF VOLUNTARY
                vs.                                     DISMISSAL
                                    :
CAROLINA TRUST BANCSHARES, INC.,
BRYAN ELLIOTT BEAL, ROSE B.         :
CUMMINGS, SCOTT C. DAVIS, JERRY L.
OCHELTREE, JOHNATHAN L. RHYNE, JR., :
FREDERICK P. SPACH, JR., RALPH N.
STRAYHORN, III, and JIM R. WATSON,  :

                      Defendants.                   :


       PLEASE TAKE NOTICE that, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i),

plaintiff Stephen Bushansky (“Plaintiff”) voluntarily dismisses the claims in the captioned action

(the “Action”) without prejudice. Because this notice of dismissal is being filed with the Court

before service by defendants of either an answer or a motion for summary judgment, Plaintiff’s

dismissal of the Action is effective upon the filing of this notice.

 Dated: January 17, 2020                                WEISSLAW LLP


                                                   By
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